                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 15-CR-3024-LRR
 vs.                                    ORDER REGARDING
                                   MAGISTRATE’S REPORT AND
 SONYA LEE HERNANDEZ,                   RECOMMENDATION
                                    CONCERNING DEFENDANT’S
          Defendant.                       GUILTY PLEA
                      ____________________

                      I. INTRODUCTION AND BACKGROUND
       On May 21, 2015, a one-count Indictment was filed against the defendant, Sonya
Lee Hernandez. On July 14, 2015, the defendant appeared before United States Chief
Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the Indictment.
On July 14, 2015, Judge Scoles filed a Report and Recommendation in which he
recommended that the court accept the defendant’s guilty plea. On July 14, 2015, the
defendant filed a Waiver of Objections to Report and Recommendation. The court,
therefore, undertakes the necessary review of Judge Scoles’s recommendation to accept
the defendant’s plea in this case.
                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for


   Case 3:15-cr-03024-CJW-MAR           Document 109     Filed 07/15/15    Page 1 of 2
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge must determine de novo any part of the
             magistrate judge's disposition that has been properly objected
             to. The district judge may accept, reject, or modify the
             recommended disposition; receive further evidence; or return
             the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
July 14, 2015, and ACCEPTS the defendant’s plea of guilty to Count 1 of the Indictment.
      IT IS SO ORDERED.
      DATED this 15th day of July, 2015.




   Case 3:15-cr-03024-CJW-MAR         Document 109      Filed 07/15/15    Page 2 of 2
